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oo~ro»m.>ww§§@§:;§§;§:g

Paul Sa§mas

Paui Sa§mas,

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12823 Maxweii Drive
Tusi;in, CA 92';’82

CENM DISTR{C'§` GE CAL§FGRNIA

UN§`ED STAT§S DISTR§CT CGURT

SGUTHERN D§VISIQN

€QM§§.¢A§NT FSR VI§LA”§`IGNS i)§:

 

 

 

 

 

 

 

Y§a§zzt§f§;
vs. i) FAIR CRE}§§'§` RE§?GR’§`ING A€T
(“§`€§A”} §§ §LSQ€;`, §§S§ ei: seq
T-MOBDL‘:E L`YSA INC., §§ C€}N§`SMER €M§B§'§" RE§GRTENG
A§ENQI§§S AC§` {“‘CC§AA”}
Dei`ez§c§a:zi* §AL§F§§RN§A C§V§§; §{}§)§§ §’?'S§ et seq.
TR.IAL BY H.IRY DEMANDED
YR§§M§A§§Y §’§`A’§‘§M§§N’i`

I. This §§ an ami@n for damages brought imm v§e;)§atians ofth Fair Creéit Repor€ing Act
(h€r€ina,§er “FCRA”) 15 U‘S.C. §§68§ et s€q., and the €Jc»izsume: €re¢;§ii Repe;§tizzg
Ag€zzs§es Aet (h€i’eina£€f “CSRAA”} Ca§§f@mia Qiz/§§ €'L`Gde 1?3§ et Seq.,

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Cump}aint
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2. This coen has juds§ictiee tender §§ U.S§. §§68§§}, Ca§i§`emie Civ§f Ceée 1"2*"85_?§3j 28
U.S.C. § 1133 §, ead 23 U,S.C. § §33?; emi Sup§z§emera§ai §u:'i§d§etie§z unde;“ 28 U.S.C. §
136? far the steie §aw c§e§me.

;V;§;N§§

3. Venue is pieper §§ ‘i;§xe §§e§;i:'al D§stric*i ef §:eiifemia §§z;ihem Divieicm pursuani to 28
U.S.C § §391 as Pla,iizi§§` reeide§ iii Grezzge Cozmty, Cai§fo§nie; §efeedante trensa<:i:
businees here

;Y;;A§§`__.__§ES

4. Plaintiff, Paui Saimas (hereina&er “Yiaini§ff” or “'Sa.l:nes”), is a newra} person residing in
{)range Ceun£y, Cefifemi&; a “ceeeumef” within the meaning §§ ike PCRA §§ U.S.C. §
1§833,(;:}, ead iiae CCRAA £eiii`emie €§vii Cede 1‘?35.3(§:).

51 Defen<ient, T~MGB§LE U§A INC., (“'Z`~Mob§le”}, is a “persen"’ Wiihin the meaning of the
FCRA, §§ U,S.C. § §§8§3(§)§ £he CCRAA Ca§i§em§a Civi£ Ce€§e §?85.3(§), agd a fer~proiit
corpe:ei§e§ organized 511 De§ewa;e whieh ime a §zrizzc§;‘)§e ;:)ie,ce §§ bue§z;ess iecai'ed ai
12920 SE 38€§1 St§ Be}leview, WA §SGO€:':.

6. Tze::sUn§§n is a “ee§z§u:'ner Je;ze:'ii;ag ege;;ey” Wiihiz). §§e meazzizzg ef ihe §`*`CRA 15 U.S.C.
§ 16813,(§), amd e “eeeeumer credit repairing egeney” Within the meaning ef the CCRAA
Ca!if<)mia Civii Cede 1?85.3@}.

7. Ce:;eumez §epe;'; (hereineiief “ee;zsumer rep@ri”) is ée§.eed as “e£meumer repori” Within
the FCRA 15 U.S,C. § 16813(€§), end “eoesemer ere€iiz report” with§a the CCRAA

Caiifomia Civi§ C€)ée 1?85,3§(6}.

Cem;;ie§s;:

 

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8. Plai§a:if§` ebiei§:;eé his ee:zeeme: z‘e;:ze§”£ i"`§‘em Tra§s`l}::§ez; §§ Se;ztem§ef 2615, ead freund an
emily in ihis repefii that indieei;eé T~Me§i§e had ebiei:;eé P¥ei§iif`? § TrensUniezz consumer
zepert en Feb;'uaa'y 12, 2915

9. Plainii§ has nevez* given T-»M<)%§e eonee§i 10 ebieie Yia§nii§" s censemer repert.

10. Upen learnieg ef€h§s §nquiz“y, PZa§ni:if§ seize a Eei:ter en er abeut September 13, 2915 te '1`~
M<)biie fre reeeive tide maiter.

11. Dei`erzdani respe§ded back en Gi‘ abou£ Nevember 3, 2915 wiih a geaeric 1ette; Stai;ing
genera1 information ebeut a credit inqeiry.

12. No evidence er documen§a£§en was §§mv§§ed in Defe§;¢iez;t°e ree;)enee iei:er te Shew that T-
Mobi§e had, in fact, a permissib§e pu§pese te obtain Pia,~i:;tifi:" 5 consumer e:edit repoxt.

€:G€}N'§` 1
§IQ§JA'§`§§N GF T§IE §`{IRA 15 §1,§.§1. § 1681 E'§` SEQ,,,
V§€)§,A'§`§GN §§ ’§`B§£ CC§€M CAL§F€}RN§A C§Y§i CQ§}E 1735 §§ SEQ.,
WILLF§}L AN§§/§).R KNGWG N§NCQWL§A§§E §§ §§§§FENBAN? '§"M€}B}§,EJ USA
§N§@

13. Piaintii`f repeats and €e»aiieges each end every ai!egatie:z stated ebeve as €heugh fully
Sf;etec§ herein.

14. Dise@ver§z §§ vio§ai§en§ breugh: §ez‘i?z §ze:'e§;a eeeuered §§ §e;ziem§ze:‘ 2615 ami is within the
statute of iimii:ei:§ens as defined in €he FCRAj 15 U.S,C‘ § 1631;).

15, The permissib£e purpeee fer which a peree§x may e‘€)€eix; a eeizsemer reperi is c§eseribed in

ihe PCRA 15 US.C. § 1681b azzé 1113 €CRAA Caiifom§§ Civ§§ Cede 1235.11(3).

€em§;!aim
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Sue}z perm§es§b§e eureeeee are geeere§§§, if tee eeeeeeaer makes aee§eetiee fee ctedit,
em;)k)ymeetj ueée§writing ef iesereeee ieve§e§eg the eeesee:e§, is e§`ete»;i a bene fide
offet e§ eteéit ee a result e§` the inquiry, et in eeneeet§en with the hirieg et a dwel§ing unit
Defeeéaet, '}`-»Met)§e, had obtained P§eiet§t`t" s '§`reesUeiee cenee§eer ee;)ett en Februery
12, 201 5.

Pla§etit§` bee never made aeplieetietz tex efed§t item De§endaet, TEMebi§e.

At ne time did Z?Zeintiff give his eeeseet fear §Befemient, T»Mei)i§e, te ae<:§eire his censumer
report item any eeesumer repe:tieg ageeey.

'I’he F€RA. 15 U.S.C § iegie(a) eve tee CCRAA Ca§§fereie C§Vi} Ce;ie § 1235 14(21)
requires that prospective esers of reeezts §§z§§ identify themseivee; certify the purposes for
Whieh the information is seeght; end certify that the ie§et'matiee W§§i be need for no ether
puteese.

Det`eedeet, T~»Meeiie, demeeetfeted ed§§ii;} eea§!er kneeling neeeemp§§eece With the
FCE.A, 15 `U.S.C. § 1§8§§~) end with tile CCRAA §efit`emie Civi§ Ceée §785.11(&) by
eetein§eg Pia§et§£f’ § Treee§e§en eeeeue‘iez’ reeezt ee Me;'ee 12, 2914 wit}z ee pezmissible
;:)x,z.tpeeef

At ne time has T~Met)iie ever pzeviée€§ eeg evideeee er deeemee'tetiee they may have had
far ebte§eie§ Pia§et§ffs eeeeeteer feeert.

Defeedeet, T-M<)bi§e, has net ptevi<§e€§ the certifieetiee, re§ei§ed eneet the FCRA. 15
U.S.C. § iégiej eec§ the C€RAA Ca§ife:‘e§e Civif Ce€§e 1?8§¢14{&} es te Whet their
pere'ziee§bie eerpeee Wae W§zen spee§f§~ee§§r et)taieie§ Y§eietiff’ e eez:eemef feeezt from

Experien en Fe§)mary 12, 2015

Ceezp§eiet
Pege 4 cf 6

 

 

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OO~»JO‘\m-¥§~UJN»~‘CD\DOO-]O\w-LWN'~*O

 

 

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24. Data m§n§ng aa§ harve§§§:zg ref w;a§zzme:"’§ §;§Vaie §§fer;§zai'§@ia cas §€aé to §§Qientia§
ideni“ity theft and es<z§@m§€ abuse - especiaiiy if §€me §§ a §arge gca§e. C€mgi’ess enacted
the FCRA, and §§chez’ ameniieé :§:e FCRA wit§a heighie:ae§ requi;ez§fa@;zis is insure a
respeci fm 313 caggumer’§ right §§ pziva;:y. 15 U,S£. § ié$§(a}{¢i).

25. T»Mob§ie is a, campany that §zas the capacity to e§`ect §uc§z ec€znc)::zia &%;mse eiue to their
iar§€ g§§)bai scaie §§ bus§§ess.

26. T=~M<zb§€ %;aé a duty fe pf@;)€§§y asc€ria§n if ibew Was a§y iegii§mate pennissi§z§e purpose
before obtaining P§a§n§ii¥§ Unsumer repor£s, ami a duty to §rovi<§e certificati§n w the
wmaer zep@rt§ng age§cy W§iea 9§3:3§13§12§ Pia§;a§:§§’s zonsumer repe:’t, and ’§`»Me§;)i!e
breached said duty 'i`§;ere§ore P}aizzti§` is entitied t@ damages for breach oi" §aid duty

H€AYER F{§R; RE§HE§

W§§§§§FGRE, Y§ai;zii§` ;)i’ays fe:' re§ie£ aisd judgmezzi' in P§a§§tif§ § fav{zr md againsi
Dei`endani, T»Moi)§§e, as fo§§ews:

a. Adjudgi§ig that D€:i`e§c§a:ztz "£'-Mabi§e, vi<)§a€e§ t§;e F€RA.

b. Ad§udging that §§efen§azai; T~M§§zi§s, vieiated die CCRAA.

c. Awa.fdi§g Piaiizf:ii§` s€atui€)ry damages of §§,G{}G, pufsu&.§zt §§ the FCRA 15 `U.S.C. §
168 § :;, agai§s€ De§@n§§azz:, 'E~M€)E)§§e;

d. Awarding Pla§n€:§§f c§v§§ pe§a§§;iz:§ §§ SZ,SGG, pur§na:§t to ihs §CRAA Qaii£omia Civil
Co;ie 1?85. 19(&), &gainst Befenéantj T-MQE)§§S;

e. Awar€iing Piairzti§§ puttitive éamages §§ be €§e€i<§eci af tria£, agai:z§t Be§e§§€§ant, 'I`=».
Moiz§§e;

if Awardi:zg Plainiii¥` actuaf §a.mages, againsi: D€§ezzdant, T-»M¢:)§zi§e;

€Qm§)§aiat
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g Awaz“éiz;g Yia§§zii§` any aii@m€§rz§ §@e§ and QG§S;§ izz§:zm'eé §§ :1:§3 §§§@z;, a§a§;:;s€
Defen§ant, T~M<)E)i§e;
h. Awaf§§iz;g P§aiaii§` any pr€»juég§aeni arié Y@si~§ué§meni §n§ei”esi as my 336 ai§owed
wider 1116 iam QY§::;§£ §efeadamt, T»»Mo`bi§e;
i_ Awarding P§ai:zti§f` web other ami fa;:‘£her reiief as 536 C€);:r€ may §§eem jvst and proper,
agaizzs: Defe:§dani, T-Mgbi§@.
§§EMAN§} §GR TR§AL ;:BY HJR'Y
Pla~.intii§` hereby demands a aid ¥)y jury €zf 311 issues ss E'iabie as a ma€ter af YQW.
Da‘teé: N§)vembe;' 25, 2915
Respeci§;iiy Sui§miti;ed,

gilch

Pauz §§1:`:}@§
12823 Maxw€§§ Br§ve
'§`usi;§zz, CA, 92'?82

Cem§)iain:
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